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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                     Oct. 20, 2020
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DEDRA DE LA ROSA,
                                                                                 20-CV-04014 (PAE)(SN)
                                 Plaintiff,

                   -against-                                                      CONFIDENTIALITY
                                                                                  STIPULATION AND
SOHO CENTRALE, LLC AND TIFFANY AND                                               PROTECTIVE ORDER
COMPANY,

                                Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

          IT IS HEREBY STIPULATED AND AGREED by and among counsel for the respective

parties in this action as follows:

          The parties having agreed to the following terms of confidentiality, and the Court having

found that good cause exists for issuance of an appropriately-tailored confidentiality order

governing the pre-trial phase of this litigation, it is therefore hereby

          ORDERED that any person subject to this Confidentiality Stipulation and Proposed

Protective Order (“Order”), including without limitation the parties to this action, their attorneys,

representatives, agents, experts and consultants, all third parties providing discovery in this action,

and all other interested persons with actual or constructive notice of this Order shall adhere to the

following terms:

          1.        Any person subject to this Order who receives from any other person any

information of any kind — whether in documents, testimony, or any other form — provided in

discovery in the course of this litigation (“Discovery Material”) that is designated as “Confidential”

pursuant to the terms of this Order shall not disclose such Confidential Discovery Material to

anyone else except as expressly permitted by this Order.
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          2.    The person producing any given Discovery Material may designate as

“Confidential” such portion(s) of Discovery Material that contains non-public business,

commercial, financial, or personal information, the public disclosure of which is either restricted by

law or which, in the good faith opinion of the producing person, warrants such a designation

pursuant to the Federal Rules of Civil Procedure and interpretive case law.

          3.    With respect to the Confidential portion of any Discovery Material other than

deposition transcripts and exhibits, the producing person or that person’s counsel may designate

such portion as “Confidential” by stamping or otherwise clearly marking as “Confidential” the

document or protected portion of the document in a manner that will not interfere with legibility or

audibility. Deposition testimony may be designated as Confidential either (i) on the record during

the deposition or (ii) until seven (7) days after receipt of the deposition transcript.

          4.    At any time prior to the trial of this action, any Discovery Material inadvertently

produced without limitation may be designated by the producing person as Confidential by

informing all parties in writing that the Discovery Materials should be treated as Confidential under

this Order.

          5.    The Parties agree keep any dates of birth and social security numbers as

Confidential. The Parties agree not to file or publicly disclose any documents containing a date of

birth or social security number unless the date(s) of birth or social security number(s) is redacted in

the document.

          6.    No person subject to this Order other than the producing person shall disclose any of

the Discovery Material designated as Confidential by the producing person to any other person,

except:

          i)    the parties to this action and any director, officer or employee of any party to this
                action, to the extent deemed necessary by counsel for the prosecution, defense or
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                settlement of this action;
        ii)     counsel retained specifically for this action, including any paralegal, clerical, and
                other assistant employed by such counsel and assigned to this matter;
        iii)    as to any document, its author, its addressee, and any other person indicated on the
                face of the document as having received a copy;
        iv)     any witness called to testify at deposition or any witness whom counsel for a party
                in good faith believes may be called to testify at trial or deposition in this action,
                provided such person has first executed a Non-Disclosure Agreement in the form
                attached to this Order;
        v)      any person retained by a party to serve as an expert witness or otherwise provide
                specialized advice to counsel in connection with this action (and the employees and
                agents of such person), provided such person has first executed a Non- Disclosure
                Agreement in the form attached to this Order;
        vi)     any mediator retained by the Parties or appointed by the Court, and employees of
                such mediator who are assisting in the conduct of the mediation;
        vii)    stenographers engaged to transcribe depositions conducted in this action; and
        viii)   the Court and its support personnel.


        7.      Prior to any disclosure of any Confidential Discovery Material to any person

referred to in subparagraphs 6.iv. or 6.vi. above, such person shall be provided by counsel with a

copy of this Order and shall sign a Non-Disclosure Agreement in the form attached to this Order.

Counsel shall retain each signed Non-Disclosure Agreement.

        8.      The Party designating a document(s) as Confidential Discovery Material will have

the obligation to make an application to the Court to have such document(s) filed under seal. The

parties will use their reasonable best efforts to minimize the filing of Discovery Materials under

seal.

        9.      Irrespective of any designation as Confidential, Confidential Discovery Material

does not include any document or information which is (i) in the public domain, or, (ii) enters the

public domain after execution of this Agreement, provided that the document or information is not

made public by a receiving party (or such party’s agent) in violation of this Agreement.

Notwithstanding any other term in this Agreement, designation of any document or information as
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“Confidential” pursuant to this Agreement shall not prohibit a producing party from using its own

documents or information in the ordinary course of its business in a manner that is consistent with

its efforts to maintain the confidentiality for such material.

        10.      Any party who objects to any designation of confidentiality or to further limits on

disclosure (such as “attorneys’ eyes only” in extraordinary circumstances), may at any time prior to

the trial of this action serve upon counsel for the designating person a written notice stating with

particularity the grounds of the objection. If the parties cannot reach a prompt agreement

respecting the objection, the parties may seek a ruling from the Court.

        11.      Each person who has access to Discovery Material that has been designated as

Confidential shall take all due precautions to prevent the unauthorized or inadvertent disclosure of

such material.

        12.      If, in connection with this litigation, a party inadvertently discloses information

subject to a claim of attorney-client privilege or work-product protection (“Inadvertently Disclosed

Information”), such disclosure shall not constitute or be deemed a waiver or forfeiture of any claim

of privilege or work-product protection with respect to the Inadvertently Disclosed Information and

its subject matter.

        13.      If a disclosing party makes a claim of inadvertent disclosure, the receiving party

shall, within five (5) business days, return or destroy all copies of the Inadvertently Disclosed

Information, and provide a certification of counsel that all such information has been returned or

destroyed. A receiving party may move the Court for an Order compelling production of the

Inadvertently Disclosed Information. The motion shall be filed under seal and shall not assert as a

ground for entering such an Order the fact or circumstances of the inadvertent production.

        14.      This Order shall survive the termination of the litigation. Within thirty (30) days of
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the final disposition of this action, all Discovery Material designated as “Confidential,” including

copies, shall either be returned promptly to the producing person, or destroyed.

          Notwithstanding the foregoing, any and all:

          i) electronic versions of Discovery Material designated as “Confidential,” shall be
                destroyed by the non-designating/receiving party; and
          ii) deposition transcripts memorializing the adverse party’s deposition(s), including those
                designated as “Confidential” and those not designated as “Confidential” shall be
                destroyed by each adverse party.

          15.      This Order shall not be construed as an admission by any party that any document or

other evidence is discoverable, relevant, or admissible or as a waiver of any right to object to the

discoverability, relevance, or admissibility of any document or other evidence. There are no

intended beneficiaries of this Stipulation and Order other than the parties to this action and the

Court, and no other person shall acquire any right hereunder.

          16.      Nothing in this Order shall preclude a party offering information subject to this

Confidentiality Order into evidence or from using any such information in the course of examining

or cross-examining any witness at the trial of this action or during a deposition conducted in this

action.

          17.      This Confidentiality Stipulation shall be, and is hereby, adopted by the undersigned

attorneys, with or without Court signature, as an order of this Court, as though it were submitted to

the Court for signature, which shall be effective as of the date hereof.

Dated: October 13, 2020
       New York, New York

 PARKER HANSKI LLC                                  BOYD RICHARDS PARKER &
                                                    COLONNELLI, P.L.

 By:_______________________                         By:__________________________
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SO ORDERED.
SO ORDERED: ---------------
              PAUL A. ENGELMAYER, U.S.D.J.


Dated: October 20, 2020
       New York, New York
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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DEDRA DE LA ROSA,
                                                                     1:20-cv-04014 (PAE)(SN)
                       Plaintiff,

              -against-                                              NON-DISCLOSURE
                                                                     AGREEMENT
SOHO CENTRALE, LLC AND TIFFANY AND
COMPANY

                Defendants.
---------------------------------------
                                                                x


         I,                                           , acknowledge that I have read and understand

the Confidentiality Stipulation and Proposed Protective Order in this action (the “Order”). I agree

that I will not disclose any Confidential Discovery Material produced in this litigation to anyone

other than for purposes of this litigation and that at the conclusion of the litigation I will return all

discovery information to the party or attorney from whom I received it. By acknowledging these

obligations under the Order, I understand that I am submitting myself to the jurisdiction of the

United States District Court for the SOUTHERN District of New York for the purpose of any

issue or dispute arising under this Non-Disclosure Agreement and that my willful violation of

any term of the Order could subject me to punishment for contempt of Court.



Dated:
